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 1
     Attorney for the United States
 2   Acting under Title 28, U.S.C. Section 515
     EMILY W. ALLEN (Cal. Bar No. 234961)
 3
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10 Attorneys for the United States
11
                                 UNITED STATES DISTRICT COURT
12
                              SOUTHERN DISTRICT OF CALIFORNIA
13
14                                              Case No. 18CR3677(1)-W
      UNITED STATES OF AMERICA,
15                                              NOTICE OF APPEARANCE
16                  Plaintiff,
             v.
17
18    DUNCAN D. HUNTER,

19                  Defendant.
20
     TO THE CLERK OF COURT AND ALL PARTIES OF RECORD:
21
            I, the undersigned attorney, enter my appearance as counsel for the United States in the
22
     above-captioned case. I certify that I am admitted to practice in this court or authorized to
23
     practice under CivLR 83.3.c.3-4.
24
            The following government attorneys (who are admitted to practice in this court or au-
25
     thorized to practice under CivLR 83.3.c.3-4) are also associated with this case, should be listed
26
     as lead counsel for CM/ECF purposes, and should receive all Notices of Electronic Filings
27
     relating to activity in this case:
28

                                                    1
1         Name
2         Emily W. Allen
3         W. Mark Conover
4         Phillip L.B. Halpern
5         Effective this date, the following attorneys are no longer associated with this case and
6 should not receive any further Notices of Electronic Filings relating to activity in this case (if
7 the generic “U.S. Attorney CR” is still listed as active in this case in CM/ECF, please terminate
8 this association):
9         Name
10        None.
11        Please feel free to call me if you have any questions about this notice.
12
13        DATED: June 26, 2019.
14                                                DAVID D. LESHNER
                                                  Attorney for the United States
15
                                                  s/ Bradley G. Silverman
16                                                EMILY W. ALLEN
                                                  W. MARK CONOVER
17                                                PHILLIP L.B. HALPERN
                                                  BRADLEY G. SILVERMAN
18                                                Assistant U.S. Attorney
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